Case 1:03-cV-01229-.]DB-tmp Document 32 Filed 05/06/05 Page 1 of 3 Page|D 59

31 "`D et
IN THE UNITED STATES DISTRICT cOURT \D n
FOR THE wEsTERN DISTRICT 0F TENNESSEE 95#4¥ ._5
EASTERN DIVISION PH 37 778
m 77
C 391"¥1”"`? 9/ FPOUO
coRNELIUs MADDOX, WD. »;), 77 3 770/137 07
`MCSK SON
Plaintiff,
v. No. 03-1229-B/P
CORRECTIONS cORPORATION 01=
AMERICA, et al.,
Defendants.

 

ORDER OF REFERENCE

 

The above matter is hereby referred to Magistrate Judge Tu Pham for all discovery and
non-dispositive motions presently pending and/or filed during the course of this litigation.

IT Is so 0RDERED this é>qday of May, 2005.

‘_//

J. DANIEL BREEN "
NI ED STATES DISTRICT JUDGE

 

 

 

Thie document entered on the docket sheet in co llance
With Ftule 58 and_)'or 79 (a) FRCP On §

39

 

F TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 1:03-CV-01229 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

W. Gaston Fairey

FAIREY PARISE & 1\/1[LLS, P.A.
P.O. BOX 8443

Columbia, SC 29202

Brandon O. Gibson

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, TN 38305

.1 ames 1. Penteeost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, TN 38305

Robert W. Ritehie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

Knonille, TN 37901

Wayne A. Ritehie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

Knonille, TN 37901--112

.1 oseph F. Welborn

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave., N.

Ste. 2300

Nashville, TN 37219

Terry Williams

LAW OFFICES OF TERRY WILLIAMS
206 S. Third

Delavan, WI 531 15

Case 1:03-cV-01229-.]DB-tmp Document 32 Filed 05/06/05 Page 3 013 Page|D 61

Honorable .1. Breen
US DISTRICT COURT

